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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

                      Plaintiff,

                -v-                                                   23-MC-

One (1) Remington Arms Co. Model 14A,
35 REM caliber rifle, bearing serial no. C73727;

One (1) Savage Arms Inc. Mark II .22 caliber rifle,
bearing serial no. 3951680;

One (1) Anderson Manufacturing, Model AM-15
Multi, .300 Blackout caliber short barrel rifle,
bearing serial no. 21134370; and

3,523 rounds of assorted ammunition,

                  Defendants.
______________________________________________


                   STIPULATION TO EXTEND PLAINTIFF=S TIME
                TO FILE COMPLAINT IN CIVIL FORFEITURE ACTION


       IT IS HEREBY STIPULATED and agreed upon between the parties, the United

States of America by its attorney, Trini E. Ross, United States Attorney for the Western

District of New York, Melanie J. Bailey, Assistant United States Attorney, of counsel, and,

Dominic Saraceno, Esq., attorney for putative claimant Annalysse Mettler-Kitcho, that

the government=s time to file its Verified Complaint for Forfeiture be extended from

August 22, 2023 to October 23, 2023, pursuant to Title 18, United States Code, Section

983(a)(3)(A).



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       The parties to this Stipulation further agree that Annalysse Mettler-Kitcho may revoke

her consent in writing to extend the time for the government to file its Verified Complaint for

Forfeiture against the above-named property, and in that event, the government shall then

have ten (10) days from the date the government received notice of such action to file its

Verified Complaint for Forfeiture.



                                           TRINI E. ROSS
                                           United States Attorney
                                           Western District of New York

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Dated: 8 /_____/2023                 BY:   _______________________________
                                           Melanie J. Bailey
                                           Assistant United States Attorney
                                           United States Attorney's Office
                                           Western District of New York
                                           138 Delaware Avenue
                                           Buffalo, NY 14202
                                           716-843-5700
                                           Melanie.bailey@usdoj.gov



Dated: 8 /______/2023
             19                            _________________________________
                                           Dominic Saraceno, Esq.
                                           The Law Offices of Dominic Saraceno
                                           534 Delaware Avenue
                                           Buffalo, NY 14202
                                           716-626-7007
                                           Dominic@TheBuffaloCriminalAttorney.com
                                           Attorney for Annalysse Mettler-Kitcho




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